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                                     RONALD MARK SHANSKY, M.D.
                                        CURRICULUM VITAE

1441-G North Cleveland                                       312-787-3365 Residence
Chicago, IL 60610                                            312-919-9757 Cell
                                                             rshansky@rshanskymd.com


ACADEMIC TRAINING

Bachelor of Science, University of Wisconsin, 1967
Doctor of Medicine, Medical College of Wisconsin, 1971
Master of Public Health, University of Illinois School of Public Health, 1975

PROFESSIONAL LICENSE

Licensed Physician (Illinois) No. 36-46042

INTERNSHIP AND RESIDENCY TRAINING

Internship – Cook County Hospital, July 1971-1972
Residency – Internal Medicine, Cook County Hospital, July 1972-1974

BOARD CERTIFICATION AND FELLOWSHIPS

Diplomate of the American Board of Internal Medicine – September 1978
Diplomate of the American Board of Quality Assurance and Utilization Review Physicians – 1992
Elected Fellow of the Society of Correctional Physicians – 1999

EMPLOYMENT

Medical Director, Center for Correctional Health & Policy Studies, Washington, D.C. Jail –
  2004 to 2006
Consultant, Corrections Medicine and Continuous Quality Improvement – 1993 to present on a full-
time
  basis; and throughout career while holding other positions
Medical Director, Illinois Department of Corrections – 1992-1993, 1998-1999
Attending Physician, Department of Medicine, Cook County Hospital – 1978 to Present
Surveyor (part-time), Joint Commission on Accreditation of Healthcare Organizations – 1993-1997
Staff Physician, Metropolitan Correctional Center of Chicago – 1975-1982




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CONSULTATIONS

Condition of Confinement Reviews for PricewaterhouseCoopers, reviewing detention facilities housing
  federal detainees; 2000–2004
Essex County Jail, Newark, N.J.
Michigan Department of Corrections
Montana Department of Corrections
New Mexico Department of Corrections
Polk Correctional Center, Raleigh, N.C.
South Dakota Department of Corrections
Washington DC Department of Corrections

APPOINTMENTS

Court Monitor, Riker v. Gibbons, Ely State Prison, Ely, Nevada  2010
Member, Department of Justice Compliance Monitoring Team, King County Jail, Seattle, WA – 2009 to
   present
Member, Monitoring Team, Ohio Department of Youth Services – 2009 to present
Member, Department of Justice Monitoring Team, Dallas County Jail – 2008 to present
Member, Department of Justice Monitoring Team, Delaware Department of Corrections – 2007 to
   present
NCCHC Board Appointment – 1999-2009
Member, Task Force to Revise NCCHC Standards for Jails and Prisons – 2003 and 2007-2008
Member of Medical Oversight Team reviewing the Ohio prison system – 2005 to present
Court Monitor, De Kalb County Jail, Decatur, Georgia – 2002-2005
Consultant, California Department of Corrections – 2000
Court Monitor, Milwaukee County Jail – 1998 to present
Court Monitor, Essex County Jail, Newark, NJ – 1995 to present
Medical Expert, State of Michigan – 1995
Consultant to Special Master, Madrid v. Gomez, Pelican Bay Prison, California Department of
   Corrections – 1995
Medical Expert, State of New Mexico – 1994
Consultant, Connecticut Department of Corrections – 1994
National Advisory Board of the National Center for Health Care Studies – 1991
Illinois AIDS Interdisciplinary Advisory Council – November 1985
Illinois AIDS Caretaker Group – November 1985
Task Force to Rewrite American Public Health Association Standards for Medical Services in
   Correctional Facilities – 1983
Corrections Subcommittee, Medical Care Section, APHA – 1983
Preceptor, then Clinical Associate Professor, Department of Preventive Medicine and Community Health,
   Abraham Lincoln School of Medicine, University of Illinois, Chicago, Illinois – 1972-1979
Clinical Associate Professor, Department of Medicine, Ravenswood Medical Center, Chicago,
   Illinois – 1979-1981
Director, Phase 1 and 2 Program at Cook County Hospital for the Abraham Lincoln School of


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  Medicine – 1976-1978
Medical Director, Uptown People’s Health Center – September 1978
Director, General Medicine Clinic, Department of Medicine, Cook County Hospital – 1975
Director, Clinical Services, Department of Internal Medicine, Cook County Hospital – 1975
Associate Attending Physician, Department of Internal Medicine, Cook County Hospital – 1974-1975
Instructor, Illinois College of Optometry, Chicago, Illinois – 1972-1974

COMMITTEE MEMBERSHIPS

Chairman, State of Illinois AIDS Caretakers Committee – 1985
Chairman, Corrections Subcommittee, Medical Care Section – 1983
Chairman, Medical Records Committee, Cook County Hospital – 1981
Member, Executive Medical Staff, Cook County Hospital – 1979
Member, Task Force to Rewrite the Standards for Health Services in Correctional Institutions –
 published 1986

PROFESSIONAL ORGANIZATIONS

Society of Correctional Physicians – President, 1993-1995
American Public Health Association – 1974 to present
American Correctional Health Services Association – 1988
American Correctional Association – 1982
Federation of American Scientists – 1974-1981

CIVIC

Mutually agreed upon expert, Milwaukee County Jail – 2001
Mutually agreed upon expert, Inmates v. Essex County Jail, 1995 to present
Appointed Receiver by Judge William Bryant, Medical and Mental Health Programs, District of
 Columbia Jail, Campbell v. McGruder – 1995
Mutually agreed upon neutral expert, State of Montana, Langford v. Racicot – 1995
Mutually agreed upon neutral expert, State of Vermont, Goldsmith v. Dean – 1996
Executive Committee Overseeing Health Care, Puerto Rico Administration of Corrections – 1993
Appointed by Judge Gerald Jenks, District Court for the Central District of Utah, as Impartial Expert
 in the matter of Henry v. Deland – 1993
Appointed by Magistrate Claude Hicks Jr., U.S. District Court in Macon, Georgia as Medical Expert
 in the matter of Cason v. Seckinger – 1993
Appointed by Judge Owen M. Panner, District of Oregon, as Special Master in Van Patten v. Pearce
 involving medical services at Eastern Oregon Correctional Institution – December 1991
Appointed by Allan Breed, Special Master, Gates case, as Medical Consultant regarding California
 Medical Facility in Vacaville
Appointed by Judge M. H. Patel, Special Master, case involving San Quentin Prison – 1989 to 1995
Selected as part of delegation to inspect the medical services provided to Palestinian detainees in the
 Occupied Territories and Israel by Physicians for Human Rights – 1989


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Appointed by U.S. District Judge Williams as member of medical panel monitoring medical services in
 Hawaii Prison System – 1985
Appointed by U.S. District Judge Black to evaluate medical services in the Florida Prison System –1983
Appointed by U.S. District Judge Kanne as monitor to the Lake County, Indiana Jail in the litigation of
 the Jensen case (H74-230) – 1982
Appointed by U.S. District Judge J. Moran as Special Master of the Lake County, Illinois Jail in the
 litigation of Kissane v. Brown – 1981
Board Member, Health and Medicine Policy Research Group, Chicago, Illinois – 1980
Appointed to Advisory Committee, State of Alabama, Department of Mental Health – 1980
Appointed as consultant to the State of Alabama, Department of Mental Health – 1979
Consultant, U.S. Department of Justice Civil Rights Division, Special Litigation Section – 1977
Appointed by U.S. District Judge J. Foreman to a three-member panel of medical experts to advise on
 health conditions at Menard Correctional Center, Menard, Illinois – 1976

AWARDS

NCCHC Bernard Harrison Award for Distinguished Service to the Field of Correctional Medicine  2010
Armond Start Award for Excellence in Correctional Medicine, Society of Correctional Physicians – 1999
American Correctional Health Services Association Distinguished Service Award – 1992

PUBLICATIONS

Michael Puisis, editor, Ronald Shansky, associate editor, The Clinical Practice in Correctional Medicine,
second edition, 2006.

Schiff, G., Shansky, R., chapter: “The Challenges of Improving Quality in the Correctional Health Care
Setting,” in The Clinical Practice in Correctional Medicine, second edition, 2006.

Schiff, G.; Shansky, R.; Kim, S., chapter: “Using Performance Improvement Measurement to Improve
Chronic Disease Management in Prisons,” in The Clinical Practice in Correctional Medicine, second
edition, 2006.

Anno, B.J., Graham, C., Lawrence, J., and Shansky, R. Correctional Health Care – Addressing the Needs
of the Elderly, Chronically Ill, and Terminally Ill Inmates. National Institute of Corrections, 2004.

Schiff, G., Shansky, R., chapter: “Quality Improvement in the Correctional Setting,” in The Clinical
Practice in Correctional Medicine, 1998.

How-To Manual, Quality Improvement in a Correctional System, State of Georgia, Department of
Corrections, 1995.

Journal of Prison and Jail Health, Editorial Board; 1988 – present.

Shansky, R., “Advances in HIV Treatment: Administrative, Professional and Fiscal Challenges in a


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Correctional Setting,” Journal of Prison and Jail Health, Volume 9, Number 1.

B. Jaye Anno, Ph.D., Prison Health Care: Guidelines for the Management of an Adequate Delivery
System, 1991; Member of Editorial Advisory Board.
Coe, J., Kwasnik, P., Shansky, R., chapter: “Health Promotion and Disease Prevention” in B. Jaye Anno,
Ph.D., Prison Health Care: Guidelines for the Management of an Adequate Delivery System, 1991.

Hoffman, A.; Yough, W.; Bright-Asare, P.; Abcariam, H.; Shansky, R.; Fitzpatrick, J.; Lidlow, E.; Farber,
M.; Summerville, J.; Petani, C.; Orsay, C.; Zal, D., “Early Detection of Bowel Cancer at an Urban Public
Hospital: Demonstration Project,” Ca – A Cancer Journal for Clinicians, American Cancer Society,
Nov/Dec 1983, Vol. 33, No. 6.

Mehta, P.; Mamdani, B.; Shansky, R.; and Dunea, G., “Double Blind Study of Minoxidil and
Hydralazine.” Sixth International Conference of Nephrology, Florence, Italy – June 1975.

PRISONS INSPECTED

State of Alabama Prisons at Kilby, Holman, Fountain, Tutweiller, Staton, and Draper
Parchman State Prison, Mississippi Jefferson County and Birmingham City Jails, Alabama
Arizona State Prison, Florence, Arizona
Washington County Jail, Fayetteville, Arkansas
California Medical Facility, Vacaville
California State Penitentiary, San Quentin
Colorado State Penitentiaries, Centennial, Fremont, Territorial
District of Columbia Jail at Occoquan
Florida Prison System
Florida County Jails, including Monroe County, Pasco County and Polk County
Krome Detention Facility (INS), Miami, Florida
Department of Juvenile Justice, State of Georgia
Georgia Diagnostic Center, Jackson, Georgia
Hawaii Prison System
Menard Correctional Center, Illinois
Rock Island County Jail, Rock Island, Illinois
Indiana State Penitentiary, Michigan City, Indiana
Indiana Reformatory, Pendleton, Indiana
Lake County Indiana Jail, Crown Point, Indiana
Maine State Prison, Thomaston, Maine
State Prison of Southern Michigan
New Hampshire State Penitentiary, Concord
New York City Jails
Sing Sing Penitentiary, New York
Ohio Women’s Prison
State of Vermont Prison System
Walla Walla State Penitentiary, Washington


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Wisconsin State Penitentiaries at Waupan, Fox Lake, Taycheedah and Dodge

SURVEYED MEDICAL PROGRAMS

Federal Bureau of Prisons, approximately 20 facilities

INTERNATIONAL INSPECTION

Israeli Prisons and Jails Housing Palestinian Detainees




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